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                          UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

 In re:                                               §       Chapter 11
                                                      §
 VOLUNTEER ENERGY SERVICES, INC.,                     §       Case No. 22-50804
                                                      §
          Debtor.                                     §       Hon. C. Kathryn Preston



                         MOTION FOR ADMISSION PRO HAC VICE


          Justin W. Ristau ("Movant"), on behalf of Mark D. Sherrill of the law firm Eversheds

 Sutherland LLP ("Mr. Sherrill") hereby moves the Court for admission of Mr. Sherrill to appear

 pro hac vice and participate as co-counsel in this case for creditor ARM Energy Management

 LLC (“ARM”).

          Movant and Mr. Sherrill represent that Mr. Sherrill is a member of the highest Court of

 the state of Texas and that Mr. Sherrill does not regularly practice before this Court. Mr. Sherrill

 has been admitted to practice in each of the following courts:

                       Court                                        Date Admitted

                     Virginia                                             1999
                        Ohio                                              2000
                       Texas                                              2002
               District of Columbia                                       2004


          Mr. Sherrill is in good standing in each of these Courts and has no disciplinary actions

 pending. Movant agrees that he will cause to be paid the required $200.00 fee following entry of

 an Order. Further, Movant provides the following contact information for Mr. Sherrill:




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                              Mark D. Sherrill, Esq. (24034678)
                              Eversheds Sutherland LLP
                              1001 Fannin Street, Suite 3700
                              Houston, TX 77002
                              marksherrill@eversheds-sutherland.com
                              (713) 470-6106 – phone
                              (713) 654-1301 – fax


        WHEREFORE, Movant respectfully requests this Court grant Mr. Sherrill pro hac vice

 admission to appear before this Court on behalf of ARM Energy Management LLC with respect

 to the above-captioned matter. A proposed order is attached hereto as Exhibit A.

                                                    Respectfully submitted,


                                                    /s/ Justin W. Ristau
                                                    Justin W. Ristau, Esq. (0075222)
                                                    Bricker & Eckler LLP
                                                    100 S. Third Street
                                                    Columbus, OH 43215
                                                    jristau@bricker.com
                                                    (614) 227-2300 – phone
                                                    (614) 227-2390 – fax
                                                    Counsel for ARM Energy Management LLC
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                                  CERTIFICATE OF SERVICE

                I hereby certify that a true copy of the foregoing MOTION FOR ADMISSION

 PRO HAC VICE was served on May 25, 2022 though the Court's CM/ECF system to all

 participants registered in this case at the e-mail addresses registered with the Court.




                                                       /s/ Justin W. Ristau
                                                       Justin W. Ristau, Esq. (0075222)
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                                      Exhibit A
                                   Proposed Order
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                           UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

 In re:                                                §       Chapter 11
                                                       §
 VOLUNTEER ENERGY SERVICES, INC.,                      §       Case No. 22-50804
                                                       §
          Debtor.                                      §       Hon. C. Kathryn Preston


              ORDER GRANTING MOTION FOR ADMISSION PRO HAC VICE


          This matter is before the Court on the Motion for Admission Pro Hac Vice filed by Justin

 W. Ristau. Upon consideration, the Court hereby grants the Motion and Mark D. Sherrill is

 hereby granted admission pro hac vice to represent ARM Energy Management LLC in the above

 captioned matter.

          Within 14 days of entry of this Order, Movant shall pay the required fee to the United

 States District Court for the Southern District of Ohio. Failure to pay the fee may result in a

 revocation of the admission order or other action ad determined by the Bankruptcy Court.
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 SO ORDERED.

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 Default List

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